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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

    ALIGN TECHNOLOGY, INC.,

           Plaintiff,
                                                  Civil Action No. 4:11-cv-00695-VDG
    v.
                                                  JURY TRIAL DEMANDED
    CLEARCORRECT, INC.,
    CLEARCORRECT OPERATING, LLC,
    and CLEARCORRECT HOLDINGS, LLC

           Defendants.


             NOTICE OF PERSONS INCLUDED IN CLEARCORRECT’S
         INTIAL DISCLOSURES PREVIOUSLY IDENTIFIED IN DISCOVERY


          Pursuant to the Court’s Order [Dkt. No. 237] on December 12, 2018, below is a list

of persons added to Defendants’1 First Amended Initial Disclosures and a description of

where these persons were previously identified during discovery.


    Name                  Disclosure During Discovery
    Edward Hlousek        Witness deposed in Align2 v. CC on 11/30/2017
    Paul Dinh             Witness deposed in ITC on 8/2/2012 (337-TA-562); Witness
                          deposed in ITC on 12/7/2012 (337-TA-562 & 337-TA-833);
                          Witness deposed in ITC on 2/26/2015 (337-TA-562); CC’s
                          response to 3rd Set, ROG3 21, 22 (2/17/2017); CC’s response to
                          5th Set, ROG 33, 36, 39 (7/5/2017); CC’s response to 8th Set,
                          ROG 45 (9/18/2017); Align’s response to 4th Set, ROG 17, ROG
                          20 (10/5/2017)
    Robert Marsa          CC’s response to 1st Set, ROG 4 (2/17/2017)
    John J. Shimmick      CC’s response to 3rd Set, ROG 25, 26 (10/31/2011); CC’s
                          response to 3rd Set, ROG 25, 26 (2/17/2017)


1
  ClearCorrect, Inc., ClearCorrect Operating, LLC and ClearCorrect Holdings, LLC (collectively
“CC,” “ClearCorrect,” or “Defendants”).
2
  Align Technology Inc. (“Align” or “Plaintiff”).
3
  Interrogatory (“ROG”).

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Bao Tran            Witness deposed in ITC on 10/18/2012 (337-TA-833); CC’s
                    response to 3rd Set, ROG 25, 26, 27 (10/31/2011);
                    CC’s response to 3rd Set, ROG 25, 26, 27 (2/17/2017)
Anne M. Rogaski     CC’s response to 3rd Set, ROG 28, 29 (10/31/2011); CC’s
                    response to 3rd Set, ROG 28, 29 (2/17/2017)
Daniel J. Furniss   CC’s response to 3rd Set, ROG 28, 29 (10/31/2011); CC’s
                    response to 3rd Set, ROG 28, 29 (2/17/2017)
John E. Lord        CC’s response to 3rd Set, ROG 28, 29 (10/31/2011); CC’s
                    response to 3rd Set, ROG 28, 29 (2/17/2017)
Susan S. Moon       CC’s response to 3rd Set, ROG 28, 29 (10/31/2011); CC’s
                    response to 3rd Set, ROG 28, 29 (2/17/2017)
Susan M. Spaeth     CC’s response to 3rd Set, ROG 28, 29 (10/31/2011); CC’s
                    response to 3rd Set, ROG 28, 29 (2/17/2017)
Heidi J. Kim        CC’s response to 3rd Set, ROG 28, 29 (10/31/2011); CC’s
                    response to 3rd Set, ROG 28, 29 (2/17/2017)
Jon V. Swenson      CC’s response to 3rd Set, ROG 28, 29 (10/31/2011); CC’s
                    response to 3rd Set, ROG 28, 29 (2/17/2017)
Gary H. Ritchey     CC’s response to 3rd Set, ROG 28, 29 (10/31/2011); CC’s
                    response to 3rd Set, ROG 28, 29 (2/17/2017)
Marc S. Lemchen     Prior art - U.S. Patent No. 5,011,405 (on re-exam, RE.35,169) to
                    Lemchen (“Lemchen”) as referenced in Defendants’ Invalidity
                    Contentions dated 9/15/2017; Align’s production ALGN009189
John J. Wilson      CC’s response to 5th Set, ROG 33, 36 (7/5/2017); CC’s response
                    to 6th Set, ROG 42 (8/29/2017)
Michael Desmond     Prior art - U.S. Patent No. 6,068,482 to Snow (“Snow”) as
Snow                referenced in Defendants’ Invalidity Contentions dated
                    9/15/2017; Align’s production ALGN0001606
Peter C. Kesling    Prior art patent as referenced in Defendants’ Invalidity
                    Contentions dated 9/15/2017; Align’s production ALGN0002619
William “Bill”      Witness deposed in Align v. CC on 11/29/2018; CC’s response to
Becker              6th Set, ROG 42 (8/29/2017)
Michael Rosato      CC’s response to 5th Set, ROG 33, 36 (7/5/2017); CC’s response
                    to 6th Set, ROG 42 (8/29/2017)
Sameh M. Yamany     Prior art - Hemayed, et. al. “Three Dimensional Model Building
                    in Computer Vision with Orthodontic Applications,” TR-CVIP
                    96, Nov. 1996 (“Hemayed”) as referenced in Defendants’
                    Invalidity Contentions dated 9/15/2017
Rodney G.           Align’s response to 4th Set, ROG 21 (10/5/2017); Align’s
Strickland, Jr.     response to 4th Set, ROG 21 (10/31/2017)
Dan Ellis           Align’s response to 4th Set, ROG 21 (10/31/2017)
Gerard P. Abbatte   Prior art - U.S. Patent No. 4,856,991 to Breads et al. (“Breads”)
                    as referenced in Defendants’ Invalidity Contentions dated
                    9/15/2017; Align’s production ALGN0000252




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Stephen P.          Prior art - U.S. Patent No. 4,856,991 to Breads et al. (“Breads”)
Warunek             as referenced in Defendants’ Invalidity Contentions dated
                    9/15/2017; Align’s production ALGN0000252
Elsayed E.          Prior art - Hemayed, et. al. “Three Dimensional Model Building
Hemayed             in Computer Vision with Orthodontic Applications,” TR-CVIP
                    96, Nov. 1996 (“Hemayed”) as referenced in Defendants’
                    Invalidity Contentions dated 9/15/2017
Aly A. Farag        Prior art - Hemayed, et. al. “Three Dimensional Model Building
                    in Computer Vision with Orthodontic Applications,” TR-CVIP
                    96, Nov. 1996 (“Hemayed”) as referenced in Defendants’
                    Invalidity Contentions dated 9/15/2017
Takayunki Kuroda    Prior art - U.S. Patent No. 5,605,459 to Kuroda et al. (“Kuroda”)
                    as referenced in Defendants’ Invalidity Contentions dated
                    9/15/2017; Align’s production ALGN0000275
Nobuyoshi           Prior art - U.S. Patent No. 5,605,459 to Kuroda et al. (“Kuroda”)
Motohashi           as referenced in Defendants’ Invalidity Contentions dated
                    9/15/2017; Align’s production ALGN0000275
Mutshushi           Prior art - U.S. Patent No. 5,605,459 to Kuroda et al. (“Kuroda”)
Muramoto            as referenced in Defendants’ Invalidity Contentions dated
                    9/15/2017; Align’s production ALGN0000275
Henry I. Nahoum     Prior art - Nahoum, H. I. (Nov. 1964). "The vacuum formed
                    dental contour appliance," The
                    New York State Dental Journal 30(9) 385-390 (“Nahoum”) as
                    referenced in Defendants’ Invalidity Contentions dated
                    9/15/2017; Align’s production ALGN0001446
Chuang-Jy Wu        Prior art - U.S. Patent No. 5,338,198 to Wu et al. (“Wu”) as
                    referenced in Defendants’ Invalidity Contentions dated
                    9/15/2017; Align’s production ALGN0000261
Christopher L. B.   Prior art - Prior art - U.S. Patent No. 5,338,198 to Wu et al.
Lavelle             (“Wu”) as referenced in Defendants’ Invalidity Contentions dated
                    9/15/2017; Align’s production ALGN0000261
Craig Bergez        Witness deposed in ITC on 9/14/2012 (337-TA-562)
Carmen Cheang       Witness deposed in ITC on 8/16/2012 (337-TA-562)
Elizabeth Coffman   Witness deposed in Align v. CC on 10/30/2018
Eric Guenterberg    Witness deposed in ITC on 7/18/2012 (337-TA-2880)
Leonard Marvin      Witness deposed in ITC on 8/22/2006 (337-TA-562); Witness
Hedge, III          deposed in ITC on 9/5/2012 (337-TA-562)
Carl Jonard         Witness deposed in Align v. CC on 10/30/2018
Dr. Chung How       Witness deposed in Align v. CC on 10/22/2018; CC’s non-
Kau                 infringement expert
Eric Kuo            Witness deposed in ITC on 9/4/2012 (337-TA-562)
Frank Liu           Witness deposed in ITC on 10/17/2012 (337-TA-562 & 337-TA-
                    833)




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Dr. James Mah        Witness deposed in ITC on 9/27/2012 (337-TA-562); Witness
                     deposed in Align v. CC on 11/12/2018; CC’s invalidity expert

Scott William      Witness deposed in ITC on 8/30/2012 (337-TA-562); Align’s
Meggs              ROG verifications
Dr. Maureen Valley Witness deposed in Align v. CC on 2/13/2018; Witness deposed
                   in ITC on 11/30/2012 (337-TA-833); Align’s infringement and
                   validity expert; CC’s response to 5th Set, ROG 34, 38 (7/5/2017)
Roman Wrosz        Witness deposed in ITC on 9/19/2012 (337-TA-562)
Mitra Derakhshan   Witness deposed in Align v. CC on 11/6/2018
Armando Enriquez Align v. CC Notice of Deposition dated 10/16/2018
Chris Bakewell     Align v. CC Notice of Deposition; Align’s damages expert


Alan Ratliff         Align v. CC Notice of Deposition; CC’s damages expert
Mark Frappier        Align’s source code expert
Allison Rountree     Align v. CC Notice of Deposition dated 11/15/2018
Dr. Nadeem Arif      Witness deposed in ITC on 7/4/2006 (337-TA-562); Witness
                     deposed in ITC on 10/19/2012 (337-TA-562 &
                     337-TA-833); CC’s response to 3rd Set, ROG 13, 14 (2/17/2017);
                     Align’s response to 6th Set, ROG 29 (11/28/2018)
Dr. Waqas Wahab      Witness deposed in ITC on 7/7/2006 (337-TA-562); Witness
                     deposed in ITC on 10/14/2012 (337-TA-562 &
                     337-TA-833); CC’s response to 3rd Set, ROG 13, 14 (2/17/2017);
                     Align’s response to 6th Set, ROG 29 (11/28/2018)
Mudassar Ahmad       Witness deposed in ITC on 6/30/2006 (337-TA-562); Witness
Rathore              deposed in ITC on 10/11/2012 (337-TA-562 & 337-TA-833);
                     Witness deposed in ITC on 10/12/2012 (337-TA-562 & 337-TA-
                     833); CC’s response to 3rd Set, ROG 13, 14 (2/17/2017); CC’s
                     response to 4th Set, ROG 31 (3/3/2017); Align’s response to 6th
                     Set, ROG 29 (11/28/2018)
Muhammad Atif        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Dr. Asim Waheed      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Imran Ishtiaq        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Naveed               CC’s response to 3rd Set, ROG 13 (2/17/2017)
Abdur Rehman         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Sikander             CC’s response to 3rd Set, ROG 13 (2/17/2017)
Salman               CC’s response to 3rd Set, ROG 13 (2/17/2017)
Aazam Rafique        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Awais Jahangir       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Adnan Khalid         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Hassan Raza          CC’s response to 3rd Set, ROG 13 (2/17/2017)
Khalid Mahmood       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Afzal       CC’s response to 3rd Set, ROG 13 (2/17/2017)
 Khan

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Muhammad Sohaif     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Kashif Rafique      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Armughan Ali        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Shahzad Hanif       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Zahid      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Riaz
Imran Jameel        CC’s response to 3rd Set, ROG 13 (2/17/2017)

Muhammad Aamir      CC’s response to 3rd Set, ROG 13 (2/17/2017)

Usman Shahid        CC’s response to 3rd Set, ROG 13 (2/17/2017)

Hassan Karamat      CC’s response to 3rd Set, ROG 13 (2/17/2017)

Adnan Ajmal         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Zeeshan Zafar Iqbal CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Nasir      CC’s response to 3rd Set, ROG 13 (2/17/2017)

Faisal Ameen        CC’s response to 3rd Set, ROG 13 (2/17/2017)

Imtiaz Anwar        CC’s response to 3rd Set, ROG 13 (2/17/2017)

Mian Naeem          CC’s response to 3rd Set, ROG 13 (2/17/2017)

Syed Abbas Raza     CC’s response to 3rd Set, ROG 13 (2/17/2017)

Muhammad Waqas      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Ahmed
Farhan Usman        CC’s response to 3rd Set, ROG 13 (2/17/2017)

Aamer Javed         CC’s response to 3rd Set, ROG 13 (2/17/2017)

Luqman ud Din       CC’s response to 3rd Set, ROG 13 (2/17/2017)

Khurram Shehzad     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Sarfraz Ahmad       CC’s response to 3rd Set, ROG 13 (2/17/2017)

Imran Butt          CC’s response to 3rd Set, ROG 13 (2/17/2017)

Shehzad Mehmood     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Waseem Ahmed        CC’s response to 3rd Set, ROG 13 (2/17/2017)

Muhammad Ali        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Babar


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Saad Waqas          CC’s response to 3rd Set, ROG 13 (2/17/2017)

Nazir Sultan        CC’s response to 3rd Set, ROG 13 (2/17/2017)

Farhan Ali          CC’s response to 3rd Set, ROG 13 (2/17/2017)

Qamar Hassan        CC’s response to 3rd Set, ROG 13 (2/17/2017)

Muhammad Ejaz       CC’s response to 3rd Set, ROG 13 (2/17/2017)

Muhammad Irfan      CC’s response to 3rd Set, ROG 13 (2/17/2017)

Muhammad Kashif     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Abdul Hassan Khan   CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad            CC’s response to 3rd Set, ROG 13 (2/17/2017)
Gulzaib
Khan
Irfan ul Haq        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Farooqi

Muhammad Saeed      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Anwar
Hassan Kaleem       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Omer Javed          CC’s response to 3rd Set, ROG 13 (2/17/2017)
Asif Muneer         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Chaudhry
Kashif Saleemi      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Kamran Yousaf       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Tajammul Wajid      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Riaz       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Atif       Witness deposed in ITC on 10/12/2012; CC’s response to 3rd Set,
Kiyyani             ROG 13 (2/17/2017)
Fahad Ashraf        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Hafiz Moeen         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Ahmad Khan
Anwar Javed         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Ameen      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Akram      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Waqar      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Usman      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Arif
Muhammad Arshad     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Aftab Ahmed         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Shahid Aslam        CC’s response to 3rd Set, ROG 13 (2/17/2017)


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Ihtesham ul Haq     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Mohsinn Mehmood     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Rehan Qureshi       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Tariq      Witness deposed in ITC on 10/13/2012; CC’s response to 3rd Set,
Latif               ROG 13 (2/17/2017)
Muhammad Javed      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Badar ud Din Khan   CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad            CC’s response to 3rd Set, ROG 13 (2/17/2017)
Asadullah
Amjad Aziz          CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Zubair     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Zahid Iqbal         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Athar Ayub          CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad            CC’s response to 3rd Set, ROG 13 (2/17/2017)
Mudassar
Junaid Ejaz         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Adnan Ramzan        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Ahsan      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Basharat Hameed     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Kamran Hameed       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Imran      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Amir Arif           CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Awais      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Shumail             CC’s response to 3rd Set, ROG 13 (2/17/2017)
Arujumand
Muhammad Imtiaz     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Hussain
Zeeshan Usman       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Syed Azeem Ui       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Hassan
Mirza Muhammad      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Kafeel
Shabbir Ahmad       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Bashir Shah         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Ibrar               CC’s response to 3rd Set, ROG 13 (2/17/2017)
Abdul Ghaffar       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Ijaz Ahmed          CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Rashid     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Muhammad Waqas      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Shehzad Anthony     CC’s response to 3rd Set, ROG 13 (2/17/2017)
Anwar Subhani       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Nadir Kamran        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Usman Kamal         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Pasha


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Haroon Javed        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Ghulam Murtaza      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Pervaiz Inayat      CC’s response to 3rd Set, ROG 13 (2/17/2017)
Amjad Sultan        CC’s response to 3rd Set, ROG 13 (2/17/2017)
Ahmad Qasim         CC’s response to 3rd Set, ROG 13 (2/17/2017)
Faisal Haroon       CC’s response to 3rd Set, ROG 13 (2/17/2017)
Farooqi
Ahmad Ammar         CC’s response to 3rd Set, ROG 13 (2/17/2017)



                                        Respectfully submitted,

                                        /s/ Joseph Alan Callier
                                        Joseph Alan Callier
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                                        Kyle Randall Akin
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                                            McClanahan  Myers  Espey, L.L.P.

                                            Randy J. McClanahan
                                            Texas State Bar No. 13391500
                                            Michael D. Myers
                                            Texas State Bar No. 00791331
                                            Robert H. Espey, II
                                            Texas State Bar No. 24007163
                                            6750 West Loop South, Suite 920
                                            Houston, TX 77401
                                            Tel: (713) 223-2005

                                            ATTORNEYS FOR DEFENDANTS
                                            CLEARCORRECT OPERATING, LLC;
                                            CLEARCORRECT HOLDINGS, LLC;
                                            CLEARCORRECT, INC.

                            CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with Civil Rules LR5. All other counsel of record not deemed to have
consented to electronic service were served with a true and correct copy of the foregoing
by certified mail, return receipt requested, on this 13th day of December, 2018.


                                            /s/ Joseph Alan Callier
                                            Joseph Alan Callier




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